Case 2:19-cv-08612-PSG-JC Document 121 Filed 05/21/20 Page 1 of 4 Page ID #:1921



    1 Donald R. Warren (CA 138933)
      Warren - Benson Law Group
    2 7825 Fay Ave., Ste. 200
      La Jolla, CA 92037
    3 Tel: 858-454-2877
      Fax: 858-454-5878
    4 donwarren@warrenbensonlaw.com

    5 Phillip E. Benson (CA 97420)
      Warren - Benson Law Group
    6 620 Newport Center Dr., Ste 1100
      Newport Beach, CA 90630
    7 Tel: 949-721-6636
      Fax: 858-454-5878
    8 philbenson@warrenbensonlaw.com

    9   Attorneys for Defendant
        Fair Housing Council of San Fernando Valley
   10

   11

   12                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   13                             WESTERN DIVISION
   14
        RELMAN COLFAX PLLC,                 )   CASE NO. 2:19-cv-08612 PSG (JCx)
   15                                       )
                    Plaintiff,              )
   16                                       )
                                            )   ERRATA RE:
              v.                            )
   17                                       )
        FAIR HOUSING COUNCIL OF             )   DEFENDANT FHC’S NOTICE OF
   18   SAN FERNANDO VALLEY AND ))              MOTION AND MOTION FOR
        MEI LING,                           )   JUDGMENT ON THE PLEADINGS
   19                                       )   PURSUANT TO FRCP 12(c) [ECF Nos.
                                            )
                    Defendants.             )   108, 108-1]
   20
        __________________________________ ))
   21                                       )   DEFENDANT FHC’S REPLY IN
        MEI LING,                           )   SUPPORT OF ITS MOTION FOR
                                            )   JUDGMENT ON THE PLEADINGS
   22               Counterclaimant,        )
                                            )   PURSUANT TO FRCP 12(c) [ECF Nos.
   23         vs.                           )   119, 119-1]
                                            )
        RELMAN COLFAX PLLC,                 )
   24                                       )
                                            )
                    Counterdefendant.       )
   25                                       )
   26

   27

   28

                                                            Errata re Rule 12(c) Motion and Reply
Case 2:19-cv-08612-PSG-JC Document 121 Filed 05/21/20 Page 2 of 4 Page ID #:1922



    1

    2         TO THE HONORABLE COURT AND TO ALL PARTIES AND
    3   COUNSEL OF RECORD:

    4
              PLEASE TAKE NOTICE of the following corrections to the party status of
    5
        the Defendant, Fair Housing Counsel of San Fernando Valley (“FHC”), which
    6
        appears on the title and signature pages of the following documents:
    7

    8
        DEFENDANT FHC’S NOTICE OF MOTION AND MOTION FOR JUDGMENT
    9
        ON THE PLEADINGS PURSUANT TO FRCP 12(c) [and attached items]
   10

   11   [ECF No. 108]
   12         Page 1, Line 6: “Attorneys for Qui Tam Plaintiff Fair Housing Council of
   13   San Fernando Valley” should be “Attorneys for Defendant Fair Housing Council of
   14   San Fernando Valley”
   15         Page 30, Line 11: “Attorney for Qui Tam Plaintiff Fair Housing Council of
   16   San Fernando Valley” should be “Attorneys for Defendant Fair Housing Council of

   17   San Fernando Valley”

   18
        [ECF No. 108-1]
   19
              Page 1, Line 6: “Attorneys for Qui Tam Plaintiff Fair Housing Council of
   20
        San Fernando Valley” should be “Attorneys for Defendant Fair Housing Council of
   21
        San Fernando Valley”
   22
              Page 8, Line 14: “Attorneys for Qui Tam Plaintiff Fair Housing Council of
   23
        San Fernando Valley” should be “Attorneys for Defendant Fair Housing Council of
   24
        San Fernando Valley”
   25

   26   DEFENDANT FHC’S REPLY IN SUPPORT OF ITS MOTION FOR
   27   JUDGMENT ON THE PLEADINGS PURSUANT TO FRCP 12(c) [and attached
   28

                                                -1-           Errata re Rule 12(c) Motion and Reply
Case 2:19-cv-08612-PSG-JC Document 121 Filed 05/21/20 Page 3 of 4 Page ID #:1923



    1   items]
    2   [ECF Nos. 119]
    3            Page 1, Line 6: “Attorneys for Qui Tam Plaintiff Fair Housing Council of
    4   San Fernando Valley” should read “Attorneys for Defendant Fair Housing Council

    5   of San Fernando Valley”

    6
        [119-1]
    7
                 Page 1, Line 6: “Attorneys for Qui Tam Plaintiff Fair Housing Council of
    8
        San Fernando Valley” should read “Attorneys for Defendant Fair Housing Council
    9
        of San Fernando Valley”
   10
                 Page , Line 25: “Attorneys for Qui Tam Plaintiff Fair Housing Council of
   11
        San Fernando Valley” should read “Attorneys for Defendant Fair Housing Council
   12
        of San Fernando Valley”1
   13

   14                                     Respectfully submitted,
   15

   16   Dated: May 21, 2020               Warren - Benson Law Group
   17
                                          /s/ Phillip E. Benson
   18                                     Phillip E. Benson
                                          Donald R. Warren
   19
                                          Attorneys for Defendant
   20
                                          Fair Housing Council of San Fernando Valley
   21

   22

   23

   24

   25

   26

   27
             The Fair Housing Council of San Fernando Valley (FHC) is one of two
                 1


      Qui Tam Plaintiffs in the related case, United States ex rel. Mei Ling, et al. v. City
   28 of Los Angeles, Case No. 2:11-cv-00974.

                                                  -2-             Errata re Rule 12(c) Motion and Reply
Case 2:19-cv-08612-PSG-JC Document 121 Filed 05/21/20 Page 4 of 4 Page ID #:1924



    1

    2
                               CERTIFICATE OF SERVICE
    3

    4
              I hereby certify that on May21, 2020, a true and correct copy of the
    5
        foregoing Errata was served on the following party:
    6

    7
        by first class mail:
    8
        Mei Ling
    9   6750 Whitsett Ave. #310
   10   North Hollywood, California 91606

   11

   12   Dated: May 21, 2020                   /s/ Phillip E. Benson
                                              Phillip E. Benson
   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                                -3-           Errata re Rule 12(c) Motion and Reply
